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                                   EXHIBIT A

                               Bankston Declaration




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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                              §
In re:                                                        §   Chapter 11
                                                              §
WATSON GRINDING &                                             §   Case No. 20-30967
MANUFACTURING CO.,                                            §
                                                              §
                    Debtor.                                   §
                   DECLARATION OF RONALD G. BANKSTON IN
         SUPPORT OF THE LIQUIDATING TRUSTEE’S OMNIBUS OBJECTION TO
                   DUPLICATE LITIGATION PROOFS OF CLAIM

I, Ronald G. Bankston, hereby declare under penalty of perjury:

           1.       I am the duly appointed Liquidating Trustee of the Liquidating Trust of Watson

Grinding & Manufacturing Co. (“WGM”).

           2.       I have read the Liquidating Trustee’s Omnibus Objection to Duplicate Litigation

Proofs of Claim (the “Objection”),1 filed contemporaneously herewith, and to the best of my

knowledge, information, and belief, the assertions made in the Objection are accurate.

           3.       I have determined that each claim identified on Schedule 1 of the Objection

(collectively, the “Duplicate Claims”) is duplicative of a January 24 Claim that was asserted in

the Removed Lawsuits identified in Schedule 1 which has been remanded back to state court.

           4.       The Plan provides that the allowance and liquidation of January 24 Claims

asserted on such state court lawsuits will be adjudicated and determined in state court even if a

plaintiff filed a proof of claim before this Court.

           5.       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the facts set

forth in the foregoing declaration are true and correct to the best of my knowledge, information,

and belief.
1
    Capitalized terms not otherwise defined herein have the meaning ascribed to them in the Objection.


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Dated: March 5, 2021                                   /s/ Ronald G. Bankston
                                                       Name: Ronald G. Bankston
                                                       Title: Liquidating Trustee




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